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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ADA ANGLEMEYER, et al.                  :      Civil Action No. 19-3714
                                        :
                    v.                  :      Jury Trial Demanded
                                        :
NORTHAMPTON COUNTY, et al.              :
                                        :

      AND NOW, this ____ day of _________, 2021, Defendants’ Motion for Summary
Judgment pursuant to Fed. R. Civ. P. 56 is GRANTED IN PART and DENIED IN PART.

      Defendants’ Motion for Summary Judgement is DENIED in regard to Defendants,
Benson, Lopez, McGarvey, Painter, Schimp, and Wysocky.

      Defendants’ Motion for Summary Judgement is GRANTED in regard to all other
Defendants.


                                        ____________________________
                                        Younge, J.
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                                   :
                 v.                :    Jury Trial Demanded
                                   :
NORTHAMPTON COUNTY, et al.         :
                                   :



      PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR
                          SUMMARY JUDGMENT




May 10, 2021
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ADA ANGLEMEYER, et al.                                       :         Civil Action No. 19-3714
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ADA ANGLEMEYER, et al.                             :       Civil Action No. 19-3714
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                         v.                        :       Jury Trial Demanded
                                                   :
NORTHAMPTON COUNTY, et al.                         :
                                                   :

                                        BRIEF IN OPPOSITION

        Plaintiffs comes now, by and through undersigned counsel, and in opposition to

Defendants’ Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56 and respond as

follows:


I. INTRODUCTION

        Four Plaintiffs, Ada Anglemeyer, Jospeh Kluska, Richard Anglemeyer, and Jeffrey

Anglemeyer brought an action against Defendants for one count of a violation of 42 U.S.C. §

1983 for generally violating their civil rights; and, one count of excessive force. The Plaintiffs

were seriously injured by the actions of the Defendants. Instead of accepting responsibility for

their actions, the Defendants come now and ask this Court to dismiss the matter. The Defendants

moved for summary judgement based on two separate theories: (1) all of the Defendants have

qualified immunity; and (2) two of the four Plaintiffs have not made specific identifications of

which Defendants used excessive force again them, so those two Plaintiffs’ suits should be

dismissed.

        The Defendants are incorrect in both of their arguments and the matter should go to trial.1

The Defendants do not have qualified immunity because the Defendants used excessive force



1
 Plaintiffs are moving against Defendants Benson, Lopez, McGarvey, Painter, Schimp, and Wysocky. Plaintiff
agrees all other Defendants should be dismissed from the matter.


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and knew of the prohibition of using excessive force. Also, the record is clear the Defendants

were personally involved in a constitutional violation, and, have therefore been identified by

Plaintiffs.


II. BRIEF FACTUAL SUMMARY


A. Specific Facts from the Record

        Local police in Northampton County wrongly believed Mark Anglemeyer was selling

methamphetamine from a garage-like building on a parcel of land located at 340 Allentown

Road, Bangor Township, PA on February 23, 2018. (Exhibit G - Dep. Ada Anglemeyer 12:20-

14:15). The local police called the Pennsylvania State Police’s Special Emergency Response

Team (hereinafter “SERT”) to execute a search warrant on the related to the distribution of

methamphetamine. (Defendant Exhibit 5 - Dep. Rowlands 7:8-12, 29:1-9). No allegation was

ever made that any methamphetamine was being manufactured or distributed from any other

building on the property, or that any other individual other than Mark Anglemeyer was

manufacturing or distributing methamphetamine. (Defendant Exhibit 5 - Dep. Rowlands at 7:7-

12, 29:7-12).

        Nonetheless, at the time of the execution of the warrant the SERT team decided on their

own volition to take down the entire parcel of land at one time. (See Defendants’ Exhibit 15,

Warrant Service Plan). The parcel of land is huge and the buildings are not near each other. (See

Defendants Exhibit 13, ecf# 49-16, overhead photograph of a portion of the parcel of land). The

overhead photograph shows the home in green and the trailer/garage area in red. Id. The home is

on the other side of a massive driveway and down the way; nowhere near the trailer/garage area.

Id.




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       Nonetheless, the SERT team sent 43 troopers onto the parcel in three separate forces

simultaneously: 18 troopers in the house, 10 troopers to the garage, and 15 troopers outside of

the buildings. Of the 43 troopers present on the scene, 21 troopers were armed with M4 assault

rifles; and, all of the troopers were equipped with various other deadly weapons. (See

Defendants’ Exhibit 15, Warrant Service Plan). Just before daybreak the SERT team executed

the warrant, like gestapo—fully covering their faces with no name or badge number on their

uniforms. (Exhibit A – Declaration of PSP in Response to Plaintiffs’ Rule 30(b)(6) Notice). 18

troopers simultaneously entered the home. In a matter of minutes these troopers all raided the

building. During the takedown of the house, the remaining Defendants injured the four innocent

bystander Plaintiffs (See Plaintiff’s Exhibits B, C, D, and E, Dr. Robert Sing reports). The

Defendants all had their faces completely covered, and had no identifying markings embroidered

on their uniforms like names and badge numbers. (Exhibit A – Declaration of PSP in Response

to Plaintiffs’ Rule 30(b)(6) Notice). The Defendants admit they intentionally concealed their

identities when the entered the home. Id.

       Defendant Painter jammed seventy-six year old Plaintiff Ada Anglemeyer into a wall,

lifted her off the ground with a ballistic shield, then dropped her to the floor. (Exhibit G - Ada

Anglemeyer Deposition, p. 67, ln. 12). Ada suffered two fractured teeth—the upper frontal

incisors, a compression fracture to her L2 vertebra, aggravation of degenerative disc and joint

disease of the lumbosacral spine, a left gluteal hematoma; and posttraumatic right cubital tunnel

syndrome that required post cubital tunnel decompression surgery. (Exhibit B – Report of Dr.

Robert Sing regarding Ada Anglemeyer).

       Forty-four-year-old Plaintiff Joseph Kluska was asleep in bed when Defendant Wysocky

zip tied Joseph from behind and vertically lifted him out of bed by the zip tie and dropped him to




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the ground. Joseph suffered tears in both shoulders, and later had left rotator cuff surgery

(Exhibit H - Kluska Dep. 73:1-20). More specifically Plaintiff Joseph Kluska suffered acute

complete right subscapularis tendon rupture (rotator cuff tear) that required and an arthroscopic

rotator cuff repair, a left shoulder rotator cuff tear with associated labral tears, and aggravation of

degenerative joint disease, in both shoulder, with the right greater than the left. (Exhibit C –

Report of Dr. Robert Sing regarding Joseph Klusha).


B. Factual Inferences to the Non-Moving Party

       Defendants McGarvey, Benson, and Lopez threw Fifty-five-year-old Jeffrey Anglemeyer

to the ground, stomped his the neck, set him in a chair, cuffed him behind his back, and

repeatedly slapped him in the face. (Exhibit J - Jeffrey Anglemeyer Dep. p. 85 ln. 2, p. 86. ln. 6).

He suffered aggravation of degenerative disc and joint disease of the cervical spine,

posttraumatic bilateral vertical radiculopathy, status post caudal epidural steroid injection (CESI

x4), cervicogenic headaches, cervical myofascial pain syndrome, bilateral shoulder sprains,

posttraumatic left shoulder impingement syndrome, and Post Traumatic Stress Disorder. (Exhibit

J - Jeffrey Anglemeyer Dep. p. 85 ln. 2, p. 86. ln. 6) (Exhibit E – Report of Dr. Robert Sing

regarding Jeffrey Anglemeyer).

       Defendant McGarvey admitted at his deposition he struck a middle-aged male who was

in the house at the time of the execution of the warrant. (Defendant Exhibit 9 - McGarvey Dep.

p.8 ln. 12). Further, Defendant McGarvey admitted he struck the male, “I used my shield to take

this individual to the ground, to control, slash, gain compliance and secure this individual.”

(Defendant Exhibit 9 - McGarvey Dep. p. 15 ln. 8). “So I used my shield to get him on the

ground to control him.” (Defendant Exhibit 9 - McGarvey Dep. p. 38, ln. 8). This person was

obviously Jeffrey Anglemeyer. Recall, Jeffrey Anglemeyer is 55 years old and Richard



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Anglemeyer is 77 years old. See supra. McGarvey admitted the man he tackled to the ground

was not a senior citizen.

       A. It was an adult aged male that I ·remember during the incident.
       Q. Not a senior citizen?
       A. No.

(Defendant Exhibit 9 - McGarvey Dep., p. 9, ln. 1.)

       Q. Do you think the male could have been in their forties that you had contact with?
       A. When you use the term senior citizen, I'm like no.· But -- but I don't know, older male,
       like not senior citizen age.

(Defendant Exhibit 9 - McGarvey Dep., p. 26, ln. 12.)

       Defendant Benson admitted to having contact with Jeffrey Anglemeyer and Richard

Anglemeyer.

               Upon arrival announcements were made prior to the sliding glass door
       being breached. When entry was made I observed a W/N-M subject and
       commands were given to him. At which point he turned around and began
       walking into an adjacent room. As we made our way into through I encountered
       another W/N-M subject, who did not comply with commands to get on the
       ground. I assisted with securing that W/N-M and remained with that subject while
       the rest of the residence was cleared by the team.

(Defendant Exhibit 21, ecf 49-24, callout report of Defendant Benson)

       Defendant Lopez admitted to having contact with Jeffrey Anglemeyer.

               Upon arriving on scene, I deployed with my team to the 4 side of the
       residence. Upon announcement given, I made entry by performing a brake and
       rake to the 4 side patio door. On entry, I assisted in clearing the residence, 1st
       floor, and secured flex cuffs 1 W/N/M in the 1st floor living room.

(Defendant Exhibit 25, ecf 49-28, callout report of Defendant Lopez.)

       These facts are corroborated by the callout report of Defendant Schimp.

               [A]s we entered the structure behind Trp. Quinton Painter and Trp. Mark
       Benson a male was encountered. Commands were given for him to stop and get
       on the ground. He refused that order and turned around and walked around a
       corner into the next room. Myself and Tpr. McGarvey followed him into that
       room where Tpr. McGarvey had to physically take him to the ground while Tpr.


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       Benson was dealing with another male who was not complying with commands.
       Tpr. Painter and myself turned our attention to several doors one of which was
       open and lead into a room with several doors.

(Defendant Exhibit 9, callout report Defendant Schimp.)

       Defendant Schimp’s report is most informative. Schimp admits he was with Plaintiff

Jeffrey Anglemeyer. We know from McGarvey’s testimony that he struck Plaintiff Jeffrey

Anglemeyer, and therefore Schimp was aiding McGarvey when he struck Jeffrey Anglemeyer.

Further, Schimp left the scene to accompany Defendant Painter. (See Defendant Exhibit 9 -

McGarvey Dep; See Defendant Exhibit 9, Schimp callout report). Therefore, when McGarvey

said he turned over the subject for someone else to cuff him, that person was Defendant Lopez,

who Plaintiff Jeffrey Anglemeyer claimed kept slapping him while he was in the process of

being zip tied. (Defendant Exhibit 25, ecf 49-28, callout report of Defendant Lopez.) And,

therefore, by the process of elimination, Defendant Benson was the person who assaulted and

tore the knee of 77-year-old Plaintiff Richard Anglemeyer. (Defendant Exhibit 21, ecf 49-24,

callout report of Defendant Benson).

       Defendant Benson, grabbed seventy-seven-year-old Plaintiff Richard Anglemeyer by the

neck and struck him with something that caused him to lose consciousness by. He suffered

complete tears of both the medial and a lateral menisci of the right knee, a contusion of the right

knee, facial abrasions, contusions and hematomas of the neck, and Post Traumatic Stress

Disorder. (Exhibit I - Richard Anglemeyer Dep. at 49:4-49:15) (Exhibit D – Report of Dr. Robert

Sing regarding Richard Anglemeyer).

       The actions, as reported by McGarvey, Schimp, Lopez and Benson, are corroborated by

Plaintiff’s Jeffrey Anglemeyer and Richard Anglemeyer.

       A. Okay. I'm standing by the fireplace, and then people were running round, you know,
       the cops, now that I know they're cops. They were running all around, and I just stood at



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       the fireplace. And then a cop come in, two cops come in, stood in front of me with a
       bright light and, you know, moved it back and forth like this here (indicating), and then I
       got blinded. I couldn't follow it no more. And the next thing I know, I got hit, you know,
       in the face and stuff.
       Q. Okay.
       A. And I felt -- and like at the throat here, and then I knew I was going down, and I went
       down and hit the concrete, and that's all I can remember for a while.

(Exhibit I - Deposition of Richard Anglemeyer, p. 25, ln. 2).

       He yelled, get down, and he grabbed -- he like clothes-lined me behind my head and
       threw me down on my hands and knees.

       And when I said that, he said, shut up, and he took his boot on the back of my neck and
       he slammed me to the floor on my knees to flat on my thing, and that's when he hurt my
       neck.

       He slapped me once in the jaw, and that's when I felt the shooting pain in my neck, and I
       dumped my head down and then he was punching me with open hands. These were not
       punches. They were open hands across the top of my head.

(Exhibit J - Jeffrey Anglemeyer Deposition p. 51, ln. 24).

       He slapped me once in the jaw, and that's when I felt the shooting pain in my neck, and I
       dumped my head down and then he was punching me with open hands. These were not
       punches. They were open hands across the top of my head.

(Exhibit J - Jeffrey Anglemeyer Deposition p. 62, ln. 7).

       Also the Defendants all covered their faces at the time they entered the property and did

not have any identifying markers on their uniform such as their names and badge numbers.

(Exhibit A – Declaration of PSP in Response to Plaintiffs’ Rule 30(b)(6) Notice). Further, when

pressed on the policy regarding hiding their identity, the Defendants offered a statement saying

they have no policy—they all agree to hide their identity like storm troopers. (Exhibit A –

Declaration of PSP in Response to Plaintiffs’ Rule 30(b)(6) Notice).

       During the takedown of the entire parcel of land, the police did not recover any

methamphetamine from any building or any individual during the takedown of the entire parcel

of land. (See Defendant Exhibit 9 - McGarvey Dep., p. 90-92). Mark Anglemeyer who was the



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subject of the narcotics investigation is not a Plaintiff in the instant action. Further, Mark

Anglemeyer was not convicted of any crime in relation to the manufacture and distribution of

methamphetamine in relation to the instant matter. (Exhibit K – Mark Anglemeyer Criminal

Docket Sheet). None of the Plaintiffs were accused, prosecuted, or convicted of any crime

related to methamphetamine. (See Defendant Exhibit 9 - McGarvey Dep., p. 90-92). None of the

Plaintiff were accused, prosecuted, or convicted of any firearms crimes related to the incident

giving rise to the instant suit. (See Defendant Exhibit 9 - McGarvey Dep., p. 90-92).


III. ARGUEMENT

A. Standard of Review

       A court may grant summary judgment only if “the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as to any

material fact and that the movant is entitled to judgment as a matter of law.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986). A genuine issue of material fact exists if “the evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). A factual dispute is material when it “might affect the

outcome of the suit under the governing law.” Id. In deciding the motion, the Court must “view

the record in the light most favorable to the non-moving party and draw all reasonable inferences

in that party’s favor.” Thomas v. Cumberland Cnty., 749 F.3d 217, 222 (3d Cir. 2014) (citing

Bowers v. Nat’l Collegiate Athletic Ass’n, 475 F.3d 524, 535 (3d Cir. 2007)). This standard

means that “a district court may not make credibility determinations or engage in any weighing

of the evidence; instead, the non-moving party’s evidence is to be believed, and all justifiable

inferences are to be drawn in [her] favor.” Montone v. City of Jersey City, 709 F.3d 181, 191 (3d

Cir. 2013) (internal quotations and alterations omitted) (quoting Marino v. Indus. Crafting Co.,



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358 F.3d 241, 247 (3d Cir. 2004)). “A motion for summary judgment is properly denied if ‘a

fair-minded jury could return a verdict for the plaintiff on the evidence presented.’” Thomas, 749

F.3d at 222 (quoting Anderson, 477 U.S. at 252).


B. Qualified Immunity

       The Defendants violated a clearly established constitutional right to be free from excess

force because they severely injured four innocent bystanders who were not alleged to have

participated in any criminal conduct. 18 troopers stormed the home, armed with significant

weaponry, and used a tremendous amount of force upon entry, which caused serious bodily

injuries to the four Plaintiffs in the home. The Defendants do not have qualified immunity for

assaulting Plaintiffs in their home on February 23, 2018.

       The defense of qualified immunity is simply stated as, “government officials performing

discretionary functions generally are shielded from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). For a

constitutional right to be clearly established, it “must be sufficiently clear that a reasonable

official would understand that what he is doing violates that right.” Anderson v. Creighton, 483

U.S. 635, 640 (1987). To meet this test, “there must be sufficient precedent at the time of the

defendant’s action, factually similar to the plaintiff's allegations, to put the defendant on notice

that his or her conduct is constitutionally prohibited.” McLaughlin v. Watson, 271 F.3d 566, 572

(3d Cir. 2001). To overcome the assertion of qualified immunity a plaintiff must sufficiently

show a violation of a clearly established constitutional right.

               Under § 1983, the use of excessive force to effect an arrest violates a
       suspect's Fourth Amendment rights. Graham v. Connor, 490 U.S. 386, 395–96
       (1989). Excessive force must be examined objectively since officers must use
       force that is objectively reasonable from the perspective of a reasonable


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        officer. Id. at 396–97; Kopec v. Tate, 361 F.3d at 776–77. The totality of the
        circumstances inquiry set forth in Graham identified specific factors for courts to
        consider, including 1) “the severity of the crime”, 2) the “immediate threat” posed
        by the suspect to officers or others, and 3) whether the suspect was “actively
        resisting arrest” or “evad[ing] arrest by flight”. Graham, 490 U.S. at 396.
                Our Circuit has expanded this list of factors to include 1) whether the
        suspect is “violent or dangerous”, 2) the “duration” of the force, 3) whether the
        force was used to make an arrest, 4) the “possibility” that the suspect is armed,
        and 5) the number of people with whom the police must contend. Sharrar v.
        Felsing, 128 F.3d 810, 822 (3d Cir.1997).
                Things not to be considered include the officer's intentions and
        motivations, be they good or bad. Graham, 490 U.S. at 397. Critically, the
        objective analysis cannot be skewed by 20/20 hindsight since courts must
        appreciate that officers are forced to make split-second decisions. Id. at 396–97.

Patrick v. Moorman, 536 F. App'x 255, 258–59 (3d Cir. 2013). See also, Brown v. Cwynar, 484

F. App'x 676, 677 (3d Cir. 2012).

        Further, Plaintiff need not show an identical fact pattern in previous law to show the

Defendants are on notice about their conduct regarding excess force. As discussed infra, the

Third Circuit previously ruled on qualified immunity for law enforcement officers in innocent

bystander cases in Couden v. Duffy, 446 F.3d 483 (3d Cir. 2006). In regard to specific facts

needed for a District Court to rule on sufficient precedent in this body of law, the Third Circuit

held:

                A grant of qualified immunity may be upheld where a challenged police
        action presents an unusual legal question or “where there is ‘at least some
        significant authority’ that lends support” to the conduct in question, even if the
        conduct was unconstitutional. Doe v. Groody, 361 F.3d 232, 243 (3d Cir. 2004).
        “On the other hand, the plaintiff need not show that there is a prior decision that is
        factually identical to the case at hand in order to establish that a right was clearly
        established.” Id.

Couden v. Duffy, 446 F.3d 483, 495 (3d Cir. 2006)

        Therefore, the standard for assessing qualified immunity in an excessive force case is

based on Graham, which was extended in the Third Circuit by Sharrar.

        In Sharrar the Court held the factors to consider are:



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                [T]he severity of the crime at issue, whether the suspect poses an
       immediate threat to the safety of the officers or others, and whether he is actively
       resisting arrest or attempting to evade arrest by flight ... [whether] the physical
       force applied was of such an extent as to lead to injury ... the possibility that the
       persons subject to the police action are themselves violent or dangerous, the
       duration of the action, whether the action takes place in the context of effecting an
       arrest, the possibility that the suspect may be armed, and the number of persons
       with whom the police officers must contend at one time.

Sharrar v. Felsing, 128 F.3d 810, 821-822 (3d Cir.1997).

       The analysis is whether a constitutional violation exists, that is, did the individual

Defendant Painter use excessive force slamming an old lady, Plaintiff Ada Anglemeyer, into a

wall with a three-foot ballistic shield, lifting her off the ground with the shield, and dropping her

to the ground, causing her to suffer from a fractured vertebra, broken front teeth, and nerve

damage to her elbow. Did the individual Defendant Wysocky use excessive force when he found

Plaintiff Joseph Kluska asleep in his bed, zip tied him from the rear, lifted him up by the zip ties,

dropping him to the ground from the air by the zip ties, causing him to suffer two torn shoulders.

Did the individual Defendants McGarvey, Schimp, and Lopez use excessive force when they

gang tackled, slapped, kicked and punched Plaintiff Jeffrey Anglemeyer, causing severe mental

and emotion distress, and a serious injury to the neck. Did Defendant Benson use excessive for

when he tackled Plaintiff Richard Anglemeyer to ground and tore his meniscus. The question

therefore is do these acts violate the Plaintiffs’ Fourth Amendment rights. And, whether a

reasonable official would understand what he is doing violates the constitutional right of the

Plaintiff of being free from excessive force. Ashcroft v. al-Kidd, 563 U.S. 731, 739 (2011).

       The Third Circuit has held that defendant law enforcement officers, who were hoping to

catch a fugitive wanted for drug and weapons officers at a target house, were not entitled to

qualified immunity protection for their alleged use of excess force against an innocent bystander.

Couden v. Duffy, 446 F.3d 483 (3d Cir. 2006). In Couden, the Defendants jumped on the



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innocent bystander, pointed guns at his head, handcuffed him and sprayed him with mace. One

of the Defendants was on top of the Plaintiff with their knee in Plaintiff’s back. Even though the

Defendants may have believed the innocent bystander was some type of intruder at the time, the

Third Circuit held this use of force violated clearly settled Fourth Amendment law because the

Plaintiff did not attempt to flee, resist, or was involved in any other criminal conduct.

       The Third Circuit went to great lengths in Couden to analyze qualified immunity in

innocent bystander cases.

       In deciding whether challenged conduct constitutes excessive force, a court must
       determine the objective “reasonableness” of the challenged conduct, considering “
       ‘the severity of the crime at issue, whether the suspect poses an immediate threat
       to the safety of the officer or others, and whether he is actively resisting arrest or
       attempting to evade arrest by flight.’ ” Carswell, 381 F.3d at 240
       (quoting Graham, 490 U.S. at 396). Other factors include “the duration of the
       [officer's] action, whether the action takes place in the context of effecting an
       arrest, the possibility that the suspect may be armed, and the number of persons
       with whom the police officers must contend at one time.” Sharrar v. Felsing, 128
       F.3d 810, 822 (3d Cir.1997).

       …

       Moreover, the constitutional right in question was clearly established under the
       qualified immunity test. The factors relevant to the excessive force analysis are
       well-recognized, as described above. See Sharrar, 128 F.3d at 822; cf. Estate of
       Smith v. Marasco, 430 F.3d 140, 150 (3d Cir.2005) (noting that a “reasonable
       officer would be guided by the Sharrar factors in determining whether to use
       overwhelming force in a given situation,” and that “if an officer applies
       the Sharrar analysis in an unreasonable manner, he is not entitled to qualified
       immunity”). In this case, most of these factors—including the potential threat
       posed by the suspect, whether the suspect was resisting arrest, armed, or
       attempting to flee, and the ratio of officers to suspects—clearly suggested the use
       of a low level of force.

Couden v. Duffy, 446 F.3d 483, 496-497 (3d Cir. 2006).

       Also, the First Circuit has discussed excessive force in the context of the execution of a

search warrant. In Mlodzinski v. Lewis, 648 F.3d 24 (1st Cir. 2011), the Court held, in connection

with the execution of a search warrant, several of the defendants violated the Fourth Amendment



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rights of one of the Plaintiffs and were not protected by qualified immunity. “A reasonable

competent officer…would not have thought that it was permissible to point an assault rifle at the

head of an innocent, not threatening, and handcuffed fifteen-year-old girl for seven to ten

minutes, far beyond the time it took to secure the premises and arrest and remove the only

suspect.” Id. at 38. The Court ruled the Defendants did not have qualified immunity. Mloszinski

at 38. See also, Ikerd v. Blair, 101 F.3d 430 (5th Cir. 1996) (police did not have qualified

immunity against an innocent bystander at the execution of an arrest warrant of another

household member where the bystander was not under arrest, was not alleged or suspected of any

crime); Burchett v. Kiefer, 310 F.3d 937 (6th Cir. 2002) (police did not have qualified immunity

from excessive force when the locked an innocent bystander in a car on a 90-degree day with the

windows rolled up while executing a search warrant, “[w]e have long recognized…that the

fourth amendment permits detention using only ‘the least intrusive means reasonably available’

[and that] ‘claims of excessive force do not necessarily require allegations of assault.’”);

McDonald by McDonald v. Haskins, 966 F.2d 292, 295 (7th Cir. 1992) (In a search warrant case,

denied qualified immunity for an officer who pointed a gun at an innocent bystander’s head);

Baird v. Renbarger, 576 F.3d 340, 344 (7th Cir. 2009) (denying qualified immunity where the

defendants were accused of using excessive force when pointing a submachine gun at plaintiffs,

rounded up various persons in surrounding Amish shops and warehouses and held them for over

two hours until the search of the industrial park was concluded.)

       In Drummond ex rel. Drummond v. City of Anaheim, 343 F.3d 1052, 1053 (9th Cir.

2003), the Ninth Circuit held the defendant police officers did not have qualified immunity when

the Plaintiff, who was unarmed and mentally ill should be taken to a medical facility for his own

safety, was subdued and restrained in a manner with such great force that resulted in his falling




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into a coma from which he never emerged. The Ninth Circuit found that the officers clearly

violated settled Fourth Amendment law in their use of force. Id. at 1062. Even though no case in

the circuit was directly on point, the officers had fair warning under the Ninth Circuit case law

that their use of force was unreasonable when they crushed plaintiff to the ground, pressed their

weight against his, despite his repeated cry for air, that he was cuffed, and offered no resistance.

Id. at 1062.

        Further, Plaintiffs retained a liability expert. (See Exhibit F – Joseph Polini Report and

curriculum vitae). Mr. Pollini, who is a Professor of Criminal Justice at the John Jay College in

New York City and a 33-year Commander on the New York City Police Department opined:

        The use of force by the Defendants in this matter in the execution of the search
        warrant was not objectively reasonable. Based on the information the Defendants
        had before they executed the search warrant, no reasonable police officer would
        have used the amount of force that was used in this case. The Plaintiffs in this
        matter posed no immediate threat to the Defendants or to any other civilians or
        members of law enforcement. The Defendants are not able to point to any
        objectively reasonable facts to justify their actions. The Defendants were on
        notice that the rights of citizens to be free from excess force by law enforcement
        was clearly established at the time they executed the warrant in this case. Further,
        the Defendants were on notice of the prohibition against the use of excessive
        force against citizens at the time they executed the search warrant.

(Exhibit F – Pollini, p. 17).

        In the matter at bar, Plaintiffs are innocent bystanders, and the Defendants entered the

wrong building on the parcel of land. At no point in any investigation were Plaintiffs ever

accused of any wrongdoing, illegality, or dealing drugs. The parcel of land is large and all

alleged narcotics transactions were from an unrelated separate building on the parcel. The

buildings are nowhere near each other on the parcel of land as evinced by Defendants’ Exhibit

13, ecf# 49-16. The overhead photograph clearly shows the home in green and the garage/trailer

area in red. The home is across a huge driveway and at the other end of the driveway. No




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member of law enforcement ever claimed any methamphetamine was being sold or distributed

inside the home. None of the Plaintiffs were charged with Resisting Arrest or Obstruction of

Justice.

           Plaintiffs concede lawfully registered firearms were present in their home, but the

Defendants concede, a proper lawful exercise of one’s Second Amendment rights is not yet a

crime in Pennsylvania.

           Plaintiffs were completely innocent bystanders during the execution of a warrant. Similar

to Couden, Mlodzinski, Ikerd, Burchett, McDonald, and Baird, the Defendants are not entitled to

qualified immunity when using force against an innocent bystander who is not committing a

crime and not actively resisting law enforcement. And, just like Drummond, the Defendants are

not allowed to use excessive force against a subject who is not resisting in anyway.

           Further, a strict interpretation of the Graham factors show the Defendants do not have

qualified immunity for torturing these innocent people. None of the Plaintiffs attempted to

attack or aggress toward any Defendant. None of the Plaintiffs were an immediate threat to any

of the Defendants. None of the Plaintiffs were suspects of any crime related to the distribution of

methamphetamine. None of the Plaintiffs were actively resisting arrest, arrested for resisting

arrest, or attempting to evade or flee the Defendants.

           Also under the additional Sharrar factors the Defendants do not have qualified immunity.

A reasonable officer would be guided by the Sharrar factors in determining whether to use

overwhelming force in a given situation. Smith v. Marasco, 430 F.3d 140, 150 (3d Cir.

2005)(holding if an officer applies the Sharrar analysis in an unreasonable manner, he is not

entitled to qualified immunity). Here, none of the Plaintiffs were suspects of any crime—none of

the Plaintiff were charged with resisting arrest, obstruction of justice, possession with the intent




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to delivery, or any gun crimes. When the Defendants entered the home, none of the Plaintiffs

were being aggressive toward the Defendants or displaying any criminal activity to the

Defendants; none of the Plaintiffs were charged with aggravated assault against any trooper and

none of the troopers were injured by the Plaintiffs. Further, the Defendants had 43 heavily-armed

SERT members present at the time of the takedown of the house while the Plaintiffs were asleep,

heavily armed with deadly weapons, and with an overwhelming amount of manpower on site.

Again, while the Plaintiffs had lawfully registered firearms in their home, this does not

inherently make any of the Plaintiffs violent or dangerous—especially when the Defendants were

in the wrong building.

       Similar to Drummond, the Defendants here controlled and maintained the Plaintiffs

without issue. Then, Defendants still felt the need to use tremendous force against the Plaintiffs.

Even if the Defendants wrongly believed Plaintiffs had committed some type of crime related to

a methamphetamine operation—which they had not—once the Defendants were in control of the

Plaintiffs, no force was necessary. The force used by the Defendants was not objectively

reasonable. Once Plaintiff Ada Anglemeyer was seen and identified by Defendant Painter, there

was no need to bull-rush her into a wall. She is an older woman who is short and slight in stature.

Defendant Painter did not observe her aggress toward him, possess a weapon, committing any

crimes, and she made no attempts to flee. Plaintiff Joseph Kluska was asleep in his bed.

Defendant Wysocky did not need to lift him up by the rear zip tie and air drop him to the ground.

Defendant Wysocky did not observe him aggress toward him, commit any crimes, or attempt to

flee. Defendant Richard Anglemeyer and Jeffrey Anglemeyer has no opportunity to resist or

flee, and neither were observed committing any crimes.




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       Here, the Plaintiffs were already subdued. Plaintiffs never resisted arrest. The conduct of

Defendants is not objectively reasonable and obviously in violation of the fourth amendment.

       All police know a constitutional violation exists when they use excessive force. These

Defendant cannot claim they were unaware their conduct in this case was a constitutional

violation. All police know a clear constitutional violation exists using excessive force, against a

non-resisting, non-combative, handcuffed citizen, who is fully under the police officer’s control.

The question of prior knowledge of this type of constitutional violation is axiomatic. The

Defendants cannot make this argument.

       All factual inferences go to nonmoving party at summary judgement. The Court should

note again there are genuine issues of dispute of material facts as to how this incident occurred.

The Defendants shade the deposition testimony in their motion. The Defendants cannot simply

rely on the testimony that is helpful to them for their own benefit.

       Here, the Court must rely on the testimony of Plaintiffs to determine whether qualified

immunity exists. Plaintiff Ada Anglemeyer stated she felt something hit her in the face, she flew

backwards and fell flat on her back, and as a result of the attack she had a huge contusion on her

hip, a fractured L2 in her upper back, nerve damage to her elbow, and two chipped font teeth.

(Exhibit G - Ada Anglemeyer Deposition, p. 63, ln. 16.; p. 67, ln. 12). Plaintiff Joseph Kluska,

while asleep, was zip tied behind his back, lift out of bead by the zip tie, and air dropped to the

ground, causing two shoulder tears, one of which required surgical repair. (Exhibit H - Joseph

Kluska Deposition, p. 39, ln. 15; p. 48, ln. 11; p. 48, ln. 11). Plaintiff Richard Anglemeyer was

standing, watching the Defendants enter his home when he was hit in the face, fell to the

concrete ground, and lost consciousness. (Exhibit I - Deposition of Richard Anglemeyer, p. 25,

ln. 2). Plaintiff Jeffrey Anglemeyer was grabbed, thrown to the ground, held on the ground, and




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repeatedly open hand slapped across his face, head and neck area. (Exhibit J - Jeffrey

Anglemeyer Deposition p. 51, ln. 24; p. 62, ln. 7).

       All reasonable police officers would understand such violence was excessive and in

violation of an innocent bystander’s constitutional rights. The role of determining facts and

determining the credibility of the witnesses is for the fact finder. The Defendants do not have

qualified immunity.


C. The “Personal Involvement” Requirement – Plaintiffs Richard Anglemeyer And Jeffrey
Anglemeyer

       A Plaintiff in a 1983 action against an individual Defendant is required to show the

Defendant is personally involved in the constitutional violation. The Defendants properly rely on

Jutrowski v. Twp. of Riverdale, 904 F.3d 280, 290 (3d Cir. 2018), the seminal case in the Third

Circuit for this issue. Jutrowski holds:


               [T]he Supreme Court require[s] a “showing of direct responsibility” by the
       named defendant and to eschew any “theory of liability” in which defendants
       played “no affirmative part in depriving any[one] ... of any constitutional rights,”
       Rizzo v. Goode, 423 U.S. 362, 376–77, 96 S.Ct. 598, 46 L.Ed.2d 561 (1976)—
       including theories of vicarious or respondeat superior liability, see Ashcroft v.
       Iqbal, 556 U.S. 662, 676, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009); see also
       Merklin v. United States, 788 F.2d 172, 175 (3d Cir. 1986). Instead, “[b]ecause
       vicarious liability is inapplicable to ... § 1983 suits, a plaintiff must plead that
       each Government-official defendant, through the official's own individual actions,
       has violated the Constitution.” Iqbal, 556 U.S. at 676, 129 S.Ct. 1937 (emphasis
       added). “Each Government official, his or her title notwithstanding, is only liable
       for his or her own misconduct.” Id. at 677, 129 S.Ct. 1937 (emphasis added).
       And, a fortiori, if entities and supervisors may not be vicariously liable under §
       1983 for the constitutional violation of a given individual, neither may that
       individual's cohorts who happen to be in the immediate vicinity. See Anela v. City
       of Wildwood, 790 F.2d 1063, 1067–68 (3d Cir. 1986) (observing that defendants
       may “not be held liable under section 1983 merely because they were members of
       a group of which some other members were guilty of abuses” (citing Rizzo, 423
       U.S. at 370–71, 96 S.Ct. 598) ).

Jutrowski v. Twp. of Riverdale, 904 F.3d 280, 290 (3d Cir. 2018)



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        But, Jutrowski specifically did not overrule Smith v. Mensinger, 293 F.3d 641 (3d Cir.

2002) on the grounds that where even if the Plaintiff could not see the all of the accused

defendants, he alleged all of the Defendants were beating him. In Smith the issue was not who

assaulted him, but the extent of the assault. Id. at 650. The extent of the excessive force used is a

classic example of a disputed fact for the fact finder. Id. In this case, the record has established

McGarvery, Schimp, and Lopez made physical contact with Plaintiff Jeffrey Anglemeyer, and

the nature of the contact is corroborated by Plaintiff Jeffrey Anglemeyer. The record is also

clear, Defendant Benson attacked Plaintiffs Richard Angelmeyer. Plaintiff’s Richard

Anglemeyer and Jeffrey Anglemeyer have been properly identified those Defendants involved in

a constitutional violation. A factual dispute exists as to extent of excessive forced used against

these Plaintiffs by the Defendants, and all reasonable inferences go to the nonmoving party at

this stage of litigation.

        Just like in Mensinger, Defendant McGarvey, Lopez and Schimp have been properly

identified as the Defendant being personally involved and the issue of the extent of excessive

force used is for the jury—not for summary judgment. Again, all reasonable factual inferences

go to the non-moving party in a motion for summary judgement.

        While Plaintiffs Jeffrey Anglemeyer and Richard Anglemeyer were unable to make

specific identifications which defendants violently assaulted them, the standard here is, “view the

record in the light most favorable to the non-moving party and draw all reasonable inferences in

that party’s favor.” Thomas v. Cumberland Cnty., 749 F.3d 217, 222 (3d Cir. 2014). A prima

facie case with all reasonable inferences to the Plaintiff has been established that Defendants

McGarvey, Lopez, and Schimp assaulted Jeffrey Anglemeyer; and, Defendant Benson assaulted

Richard Anglemeyer.




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       As stated supra in the facts section, Defendant McGarvey admitted at his deposition that

he took a middle-aged man to the ground with his shield to control him, this man was Jeffrey

Anglemeyer. Defendant Schimp admitted he aided McGarvey in securing the subject, who was

Jeffrey Anglemeyer. Defendant Lopez admitted a man was passed off to him to cuff, who was

Jeffrey Anglemeyer. Defendant Schimp stated he saw Defendant Benson in the same room

securing another subject, and Defendant Benson admitted he was in the same room and securing

another male, who was Richard Anglemeyer.

       Accordingly, the record has established circumstantially and as a totality of the

circumstances, to a prima facie level, that Plaintiffs Richard Anglemeyer and Jeffrey

Anglemeyer have identified who assaulted them.

       The record establishes an identification of Defendants McGarvey, Schimp, and Lopez as

the Defendants who injured Plaintiff Jeffrey Anglemeyer’s neck. And, the record establishes an

identification of Defendant Benson as the person who tore the knee of Plaintiff Richard

Anglemeyer. To conclude otherwise would give an inference in favor of the Defendants. The

Court would have to infer these Defendants who were undisputedly engaged with civilians, were

engaged with civilians other than the Plaintiffs. Such an inference would be inappropriate at

summary judgement and is unsupported by the record.


D. Due Process Access To Courts

       Alternatively, much to their peril, the Defendants can no longer hide behind their blue

masks and camouflage. In their Second Amended Complaint, Count I, Plaintiffs pled a general

violation of Plaintiff’s civil rights under 42 U.S.C. § 1983. The Defendants never filed a Motion

under 12(b)(6) to dismiss that claim. Plaintiffs intentionally included Count I for a general

violation of their civil rights just in case the Defendants assert some type of trickery during the



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course of litigation. Now the Defendants ask this Honorable Court to grant summary judgement

on the theory of two of Plaintiffs not properly identifying Defendants personally involved in a

constitutional violation when the defendants intentionally hid their identities. While this defense

case theory is cute, the law allows the Plaintiff to proceed under a theory of Conspiracy to Deny

Plaintiffs their Due Process Right to Access to Courts, because the Plaintiffs properly plead a

generalized count of 1983 in their Second Amended complaint. See Adickes v. S.H. Kress & Co.,

398 U.S. 144, 150-52 (1970); Great W. Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d

159, 161 (3d Cir. 2010); Monroe v. Beard, 536 F.3d 198, 205 (3d Cir. 2008); Wolff v.

McDonnell, 418 U.S. 539, 579 (1974).

       Plaintiff’s clearly plead a generalized 42 U.S.C. 1983 count:


                                       COUNT I -
                               VIOLATION OF 42 U.S.C. § 1983
                                   ALL DEFENDANTS

       1. Plaintiffs alleges each and every allegation contained in the foregoing
          paragraphs of this Complaint and incorporates them herein by reference as if
          the same were set forth at length.
       2. Defendants’ actions were taken under color of state law, are state actions under
          42 U.S.C. §1983, and have deprived Plaintiffs of their rights, privileges, and/or
          immunities secured by the Constitution and laws of the United States,
          including her right to bodily integrity and her right to be free from illegal
          seizure.
       3. Defendants also violated Plaintiffs’ constitutional rights under the Fourth
          Amendment of the United States Constitution by using excessive force.
       4. On information and belief, the aforesaid actions of Defendants were taken
          intentionally, willfully, and/or with deliberate indifference to, or reckless
          disregard for, the rights secured to the Plaintiffs. Defendants’ actions as stated
          herein denied Plaintiffs’ rights in violation of the United States Constitution
          and 42 U.S.C. § 1983.
       5. Defendants’ actions were a factual cause of and/or directly and proximately
          caused Plaintiffs’ substantial damages and harm.


       In the Third Circuit, to survive summary judgement on a conspiracy theory a plaintiff

must show the officers reached an understanding to deprive them of their constitutional rights.


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One of those right is the constitutional right of access to courts. When law enforcement officers

conspire to cover up constitutional violations, the Plaintiff has been denied his constitutional

right to access to courts. Capogrosso v. Supreme Court of N.J., 588 F.3d 180, 184-85 (3d Cir.

2009). A conspiracy of silence behind the blue wall is enough to survive summary judgement.

Vasquez v. Hernandez, 60 F.3d 325, 328-29 (7th Cir. 1995). “Courts have found that concealing

a constitutional violation, including use of excessive force, does not amount to a separate

constitutional violation unless the victim of the concealment was deprived of his right of access

to the courts.” Swiggett v. Upper Merion Twp., No. 08-2604, 2008 WL 4916039, at 4 (E.D. Pa.

Nov. 17, 2008).

       However, the Plaintiff must establish some factual basis to support the existence of the

conspiracy: some type of agreement on group action. Kost v. Kozakiewiecz, 1 F.3d 176, 185 (3d

Cir. 1993). Plaintiffs can prove the existence of this agreement through circumstantial evidence.

Startzell v. City of Philadelphia, 533 F.3d 183, 205 (3d Cir. 2008). And, whether there is a

meeting of the minds of the defendants to infer from the facts is a determination for the jury.

Kedra v. Shroewter, 876 F.3d 424, 444 (3d Cir. 2017); See also, Anderson, 477 U.S. at 249.

       But, Plaintiffs are not permitted to make a blanket assertment of a conspiracy to deprive

them of their due process rights of access to courts. Monroe, 536 F.3d at 205. Material omissions

in police reports can be enough for a jury to conclude the conspiracy existed. Bell v. City of

Milwaukee, 746 F.2d 1205, 1256 (7th Cir. 1984), rev’d on other grounds by Russ v. Watts, 414

F.3d 783 (7th Cir. 2005).

       Mr. Pollini also opined on this topic:

       Moreover, the Pennsylvania State Police has intentionally created a policy and
       procedure regarding the SERT unit, of not providing any identification or
       identifying markers when the SERT unit executes a warrant, by wearing face
       coverings and not having their names and badge numbers embroidered onto their



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       uniforms. Further, the Pennsylvania State Police have intentionally created a
       policy of intentionally not arming the SERT unit with body cameras and having
       no explanation for the policy. These polices are a systematic defect and violate
       proper, accepted and standard police practice and procedures.

(See Plaintiffs’ Exhibit F, Pollini Report, p. 17).

       Here, Defendants McGarvey, Schimp, Benson and Lopez all admitted in their reports

and/or depositions they made physical contact with civilians in the house, all of them had their

faces covered and wore a uniform with no name or badge number, and their employer admitted

in a sworn declaration in lieu of a 30(b)(6) witness the Defendants intentionally conceal their

identity and have no explanation for the practice and policy.

       Plaintiffs have included a “catch all” 42 U.S.C. § 1983 claim in their pleadings for

deprivation of constitutional rights. Plaintiffs have shown the existence of a conspiracy of the

Defendants to conceal their identities when committing excessive force. Plaintiffs Richard

Anglemeyer and Jeffrey Anglemeyer should be allowed to proceed to trial on a claim of

Conspiracy to violate their due process rights by depriving them of access to courts even if this

Court concludes they have not properly identified the Defendants. Here, the Defendants

intentionally covered their faces and bodies at the time of their conspiracy. The Defendants

intentional had no name or badge number on the outside of their clothing. Their employer had no

30(b)(6) witness available to explain this practice; instead offering “this is way it’s always been

done.” The only way to put an end to these shenanigans is to let a jury hear the evidence, and

hold the defendants accountable for their actions—to use the 7th Amendment to force the

Defendants to accept responsibility for their actions. Otherwise the tactics of this posse will

continue to pervade our communities.



IV. CONCLUSION



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       The Defendants are personally involved in a constitutional violation. The Defendants’ use

of excessive force was a constitutional violation. The Defendants were well aware their conduct

amounted to a constitutional violation. The acts of the Defendants were the cause of Plaintiffs’

injuries. The Defendants acted with recklessness or callous indifference to the Plaintiffs’

federally protected rights.

       Defendants’ motion should be denied.


                                             RESPECTFULLY SUBMITTED,

May 10, 2021                                 /s/ Brian J. Zeiger, Esquire
DATE                                         BRIAN J. ZEIGER, ESQ.
                                             LEVIN & ZEIGER, LLP
                                             1500 JFK BLVD STE 620
                                             PHILADELPHIA, PA 19102
                                             215-825-5183
                                             PA Bar Id. No. 87063




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ADA ANGLEMEYER, et al.                      :        Civil Action No. 19-3714
                                            :
                       v.                   :        Jury Trial Demanded
                                            :
NORTHAMPTON COUNTY, et al.                  :
                                            :

                                  CERTIFICATE OF SERVICE

       Plaintiffs’ counsel hereby certifies opposing counsel has been served with the foregoing

via email and this Court’s ecf.



                                            RESPECTFULLY SUBMITTED,

May 10, 2021                                /s/ Brian J. Zeiger, Esquire
DATE                                        BRIAN J. ZEIGER, ESQ.
                                            LEVIN & ZEIGER, LLP
                                            1500 JFK BLVD STE 620
                                            PHILADELPHIA, PA 19102
                                            215-825-5183
                                            PA Bar Id. No. 87063




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ADA ANGLEMEYER, et al.                       :       Civil Action No. 19-3714
                                             :
                       v.                    :       Jury Trial Demanded
                                             :
NORTHAMPTON COUNTY, et al.                   :
                                             :


           PLAINTIFFS’ STATEMENT OF MATERIAL UNDISPUTED FACTS

       Plaintiffs, for the purpose of responding to Defendants’ Motion for Summary Judgment,

consistent with the Court’s procedures, avers the following:


Statement of Plaintiff as to whether they accept or reject the facts of the moving party, in
the same numeric order:

The Property and Residence
1-4. Accepted.

SERT Assistance Request
5-13. Accepted

SERT Briefing and Approach to Property
14-17. Accepted.
18. Accepted in part and rejected in part. Defendants offer opinion evidence in parts of this
paragraph, which is against the standard for Summary Judgement.
19-26. Accepted.
27. This paragraph was left blank by Defendants.
28-30. Accepted.

Lower Levin (4-Side) Entry
31-138. Accepted.

Conclusion of SERT Involvement
139-144. Accepted.

Alleged Injuries to Plaintiffs
145.-148. Accepted.

Plaintiffs’ additional disputed facts in consecutive numbered paragraphs.



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149. Defendants intentionally conspired to hide their face and identification.

Plaintiff Ada Anglemeyer could not see any of the faces of any members of SERT:

       Q. Okay. First of all, who was this? Was this one of the –
       A. I couldn't say who it was. It was just police and they were in these uniforms.
       Can't recognize them.
       Q. Okay. This person you were speaking with, this one person, was there anything
       distinctive about him, like a beard or --
       A. No.
       Q. It's my understanding they were wearing like helmets and things like that --
       A. Yes.
       Q. -- on a lot of their heads?
       A. Correct.
       (Ada Anglemeyer Deposition, p. 70, ln. 16).

Plaintiff Joseph Kluska could not see any of the faces of any members of SERT.

       Q. Two, okay. And could you see their faces or were they wearing -- what were
       they wearing?
       A. They were wearing fatigues and helmets and everything, but, yeah, I don't -- I
       couldn't see their faces at first. Maybe a little bit afterwards when things settled
       down a little bit.
       (Joseph Kluska Deposition, p. 43. ln. 23).

Declaration of Pennsylvania State Police in Response to Plaintiffs’ Rule 30(b)(6) Notice
to Pennsylvania State Police.

       1. The Pennsylvania State Police’s (“PSP”) Special Emergency Response Team
       (“SERT”) wear uniforms for SERT operation that do not bear the individual’s
       name or badge number.
       2. PSP is unaware of SERT uniforms ever containing the individual’s name or
       badge number.
       3. PSP is unaware of any policy or regulation, current or archived, that states
       whether the SERT uniform includes/does not include the individual’s name or
       badge number.
       4. PSP is unaware of any time that the issue of name or badge number appearing
       on the SERT uniform was formally considered or discussed.

Defendant McGarvey’s Admission that the SERT team intentionally conceals their
identity.

       Q. Okay.· And, by the way, was your face covered?
       A. Yes.· I wear the helmet obviously, the
       ear muffs.· I usually have glasses and then I have a neck wrap that -- wrapped around a



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      piece of Kevlar that I wear on my -- on my neck.
      Q. Okay.· Did you ever take any of that off
      at any point during this operation?
      A. On the scene, no.
      Q. Did you ever identify yourself to any of the occupants of the home?
      A. Yes.
      Q. When was that?
      A. Upon entry.
      Q. What did you say?
      A. I say state police warrant service.
      Q. I understand that, Corporal.· I mean like once everyone is in zip ties or cuffs and the
      scene is secured, do you say my name is Corporal ·McGarvey?
      A. I did not.
      Q. Does your outfit that you wear say Corporal McGarvey on the outside anywhere?
      A. It does not.
      Q. Why is that?
      A. I couldn't tell you.
      Q. Have you ever asked anyone that you want your name on the outside of your uniform?
      A. I have not.
      Q. Do you wear a badge?
      A. I do not.
      Q. Do you have a badge number on the outside of your uniform?
      A. It does not.
      Q. So, let me give you a hypothetical.· If you did something wrong on the job and
      someone wanted to complain about you, how could they do it ·then?
      …
      A. Piecing it together.
      Q. Say it again?
      A. I said piecing it together just with all the information.
      Q. How would they piece it together?
      A. I guess kind of like what we're doing now, like talking to all the people that were
      involved and just going by what was said.
      Q. Is there any other way that you're aware of?
      A. A way to identify?
      Q. Yes.
      A. Not that I would know of.
      (McGarvey Deposition, p. 33, ln. 14).

150. Deposition of Ada Anglemeyer

At the time of the entry of SERT, Ada Anglemeyer was unaware why SERT was in her home,

      Q. Okay. So you're saying that you had no advanced notice that the police were
      coming?
      A. Pardon me?
      Q. You had no advanced notice that the police were coming that morning?



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       A. No. I didn't know.
       (Ada Anglemeyer Deposition, p. 89, ln. 7).

       And I just felt something hard hit me in the face, and I just flew backwards and
       flat on my back, and I just screamed, because I was in such pain. And I remember
       my husband yelling, you could cripple her, call an ambulance, she just had
       surgery. And I said, they broke my teeth off. And I was just laying there. I
       couldn't move. And I don't know how long I laid there. It seemed like forever, but
       I just couldn't move. I just laid there, and eventually the ambulance came and took
       me to the hospital.

       Well, I had a complete black and blue hip and a big contusion on my hip the size
       of a baseball, and I must have hit my head, because I had trouble with my ears
       and dizziness, and of course my back, it fractured the L2 in my upper back, and
       my elbows hit the floor really hard, because I had to have surgery in my arm. I
       kept getting shocks down my hand, and my arm still ain't right. It's numb.
       (Ada Anglemeyer Deposition, p. 67, ln. 12.)

Ada Anglemeyer was not given any commands by SERT,

       Q. Okay. So you didn't hear anyone giving you commands to do anything?
       A. No.
       (Ada Anglemeyer Deposition, p. 67, ln. 12.)

SERT falsely accused Ada Anglemeyer of being involved with drugs:

       A. No. When the police -- they did say to me, well, where's the drugs? I said, I don't have
       any drugs.
       Q. This is while you're on the ground?
       A. Yes. This is while I'm on the ground. I said, I don't have any drugs. The only thing I
       have is my medicine.
       (Ada Anglemeyer Deposition, p. 70, ln. 16).

151. Deposition of Joseph Kluska

Joseph Kluska was unaware Mark Anglemeyer was alleged to have sold methamphetamine from
another building on the parcel of land.

       Q. So at some point you became aware
       that there were allegations that he had sold meth to a confidential informant?
       A. Yeah. When they busted into my room and ripped down my bed, then I became aware
       of
       it.
       Q. Okay. So before then, you had never
       had any reason to suspect that he was -- A. No.
       Q. -- selling meth?



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       A. No.
       Q. Okay. So that surprised you, that
       allegation? Is it fair to say that?
       A. Yeah.
       (Jospeh Kluska Deposition, p. 28, ln. 5).

Joseph Kluska was asleep in bed when SERT came into his bedroom, ziptied him from behind,

       They busted in through the outside door into my bedroom and literally scared the bejesus
       out of me, and one of them jumped on my bed, had me roll over and put my hands up,
       which I did, and then they cuffed me. And he had a gun in his hand and cuffed me behind
       my back, and then after cuffing me, I was like, what the hell is going on. I was startled.
       Cuffed me behind my back, at which time the officer just kept telling me to shut the F up,
       shut the F up, and he grabbed the zip tie where he cuffed me at behind my back, lifted me
       up in the air and slammed me on the floor, and I'm still like half asleep, not knowing
       what's going on.

       (Joseph Kluska Deposition, p. 39, ln. 15).

Joseph Kluska felt the Defendant lift him up from the zip tied cuffs, from the rear, tearing both of
his shoulders.

       A. Yeah. Well, I was laying on my back when he jumped up on my bed. I was looking at
       him, and he told me to roll over, and that's
       when I rolled over.
       Q. Okay.
       A. Roll over, put your fucking hands
       up.
       I rolled over, put my hands up. So
       I seen him standing on my bed with his feet. Q. Okay. All right. So you get
       handcuffed by the tall white guy and then what exactly happens next?
       A. I just get lifted in the air, and I scream, my fucking shoulders, my shoulders, and
       slammed me down on the ground and like I just -- instantly just my shoulders just were
       in so much pain, and I was asking him to take the cuffs off. He refused to. And I'm like,
       man, my shoulders, you don't understand, you just ripped my shoulders out, you ripped
       my shoulders out.
       Shut up, shut up, shut up.
       Q. And who was yelling shut up? Were
       they both yelling or just one of them? A. No. The white guy was.

       (Joseph Kluska Deposition, p. 48, ln. 11).

       …

       A. Instantly. Instantly. I felt it --




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       I mean, if you can imagine being ripped up out of your freaking bed and slammed on the
       floor. I'm sorry about my language, but I felt it instantly and I said it instantly, my
       shoulders. What the fuck? My shoulders. And I was swearing too. What the F. My
       shoulders, my shoulders. You just ripped my shoulders out.
       Q. Yeah.
       A. And he kept telling me to shut up, just shut up.
       Q. Okay. So you're saying that from the moment you basically hit the floor, you were
       complaining about the shoulders?
       A. Absolutely.
       Q. And do you know whether or not they got further injured when you were moved from
       the floor to the chair?
       A. Yeah. I would say yeah, because he picked me up the same way. I was still cuffed
       behind my back. It wasn't like he helped me up. He ripped me up.


       (Joseph Kluska Deposition, p. 48, ln. 11).

152. Deposition of Richard Anglemeyer

       A. Okay. I'm standing by the fireplace, and then people were running round, you know,
       the cops, now that I know they're cops. They were running all around, and I just stood at
       the fireplace. And then a cop come in, two cops come in, stood in front of me with a
       bright light and, you know, moved it back and forth like this here (indicating), and then I
       got blinded. I couldn't follow it no more. And the next thing I know, I got hit, you know,
       in the face and stuff.
       Q. Okay.
       A. And I felt -- and like at the throat here, and then I knew I was going down, and I went
       down and hit the concrete, and that's all I can remember for a while.

       (Deposition of Richard Anglemeyer, p. 25, ln. 2).

153. Deposition of Jeffrey Anglemeyer

       He yelled, get down, and he grabbed -- he like clothes-lined me behind my head and
       threw me down on my hands and knees.

       And when I said that, he said, shut up, and he took his boot on the back of my neck and
       he slammed me to the floor on my knees to flat on my thing, and that's when he hurt my
       neck.

       He slapped me once in the jaw, and that's when I felt the shooting pain in my neck, and I
       dumped my head down and then he was punching me with open hands. These were not
       punches. They were open hands across the top of my head.

       (Jeffrey Anglemeyer Deposition p. 51, ln. 24).




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       He slapped me once in the jaw, and that's when I felt the shooting pain in my neck, and I
       dumped my head down and then he was punching me with open hands. These were not
       punches. They were open hands across the top of my head.

       (Jeffrey Anglemeyer Deposition p. 62, ln. 7).

154. Defendant’s Motion for Summary Judgement Exhibits, ecf # 49-12, Exhibit 9, Defendant
McGarvey’s Deposition

       Q. Understood. But did you make physical contact with a human being on that day during
       that job?
       A. I did.
       Q. Okay. And whomever that person is, you don't -- you don't know their name?
       A. I do not.
       (Defendant McGarvery’s Deposition p. 8 ln. 12)

       A. It was an adult aged male that I ·remember during the incident.
       Q. Not a senior citizen?
       A. No.

(McGarvey Dep., p. 9, ln. 1.)

       Q. Do you think the male could have been in their forties that you had contact with?
       A. When you use the term senior citizen, I'm like no. But -- but I don't know, older male,
       like not senior citizen age.

(McGarvey Dep., p. 26, ln. 12.)


155. Defendant’s Motion for Summary Judgement Exhibits, ecf # 49-28, Exhibit 25, Defendant
Lopez’s Callout Report.

        “Upon arrival on scene, I deployed with my team to the 4 side of the residence. Upon
       announcement given, I made entry by performing a brake and rake to the 4 side patio
       door. On entry, I assisted in clearing the residence, 1st floor, and secured flex cuffs 1
       W/N/M in the 1st floor living room.”.

156. Defendant’s Motion for Summary Judgement Exhibits, ecf # 49-24, Exhibit 21, Defendant
Benson’s Callout Report.

       “Upon arrival announcements were made prior to the sliding glass door being breached.
       When entry was made I observed a W/N-M subject and commands were given to him. At
       which point he turned around and began walking into an adjacent room. As we made our
       way through I encountered another W/N-M subject, who did not comply with commands
       to get on the ground. I assisted with securing that W/N-M and remained with that subject
       while the rest of the residence was cleared by the team.”



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157. Defendant’s Motion for Summary Judgement Exhibits, ecf # 49-31, Exhibit 28, Defendant
Schimp’s Callout Report

       “Upon announcements the residence was not surrendered and entry was made. Ask [sic]
       we entered the structure behind Tpr. Quinton PAINTER and Tpr. Mark BENSON a male
       was encountered. Commands were given for him to stop and get on the ground. He
       refused that order and turned around and walked around a corner into the next room.
       Myself and Tpr. MCGARVEY followed him into that room where Tpr. MCGARVEY
       had to physical take him to the ground while Tpr. BENSON was also dealing with
       another male who was not complying with commands.”

                                          RESPECTFULLY SUBMITTED,

May 10, 2021                              /s/ Brian J. Zeiger, Esquire
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